           Case 1:18-cv-03150-RCL Document 27 Filed 02/11/22 Page 1 of 2



                            IN THE UNITED STATES DISTRICT COURT

                                 FOR THE DISTRICT OF COLUMBIA

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 BEN-YISHAI, et al.,

                                  Plaintiffs,                            Docket No:

                           -against-                                     18-cv-3150 (RCL)

 THE SYRIAN ARAB REPUBLIC, et al,

                                  Defendants.

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                                            STATUS REPORT

         On December 15, 2021, Plaintiffs filed a status report with the Court, responding to the

Court’s minute over of December 10, 2021. (Dkt. 26). In that status report, Plaintiffs informed the

Court that they expected to submit their motion for a default judgment within 60 days. Plaintiffs

now respectfully submit this status report to give the Court a further update.

         The papers, which include a liability expert declaration, six party declarations, seven

medical reports, a report by an economist, a memorandum of law, and proposed findings of fact

and conclusions of law, are nearly finalized. Plaintiffs will be submitting the supporting papers

papers on a rolling basis in the coming days, and will submit the motion itself, last, as it will be

edited to make reference to the docket numbers of the supporting documents for the avoidance of

any confusion.

         Plaintiffs anticipate that the entire motion will be filed within the next two weeks.

         Plaintiffs thank the Court for its efforts in this matter.

Dated:     Brooklyn, New York
           February 11, 2022
Case 1:18-cv-03150-RCL Document 27 Filed 02/11/22 Page 2 of 2




                            Respectfully submitted,

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